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                    EXHIBIT 1
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   1                                                                                              4/3/2020
                                        POLICE DEPARTMENT
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                                 SWORN ATTRITION   AND HIRING   2020

                                               Attrition
Year   Jan   Feb    Mar       Apr      May       Jun       Jul      Aug       Sep     Oct   Nov              Dec
2020   37    25     12

                                                Hiring
Year   Jan   Feb    Mar       Apr      May       Jun       Jul      Aug       Sep     Oct   Nov              Dec
2020   18     21     18




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